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				MacDONALD v. CORPORATE INTEGRIS HEALTH2014 OK 10321 P.3d 980Case Number: 111717Decided: 02/25/2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 10, 321 P.3d 980

GUINDELEE MacDONALD, Plaintiff,v.CORPORATE INTEGRIS 
HEALTH and INTEGRIS HEALTH, Defendants.

FEDERAL CERTIFIED QUESTION

¶0 On August 20, 2012, plaintiff filed suit against her former employer in 
the United States District Court for the Western District of Oklahoma. Plaintiff 
alleged employer violated both federal law and the Oklahoma Anti-Discrimination 
Act (OADA), 25 O.S.2011, §§ 1101 
through 1706, in terminating her employment. More particularly, she alleged 
employer discriminated against her on the basis of her age and gender. In 
addition to relief provided by federal law, plaintiff alleged she was entitled 
to the full range of normal tort damages, including punitive damages, on her 
state law claim. Anticipating employer's defense that § 1350 of the OADA limits 
damages for discrimination claims, plaintiff alleged the damage limitations in 
the OADA are unconstitutional under Oklahoma's prohibition against special laws. 
Citing the lack of Oklahoma precedent on this issue, the United States District 
Court for the Western District of Oklahoma certified to this Court the question 
of whether the damage provisions in § 1350 of the OADA are unconstitutional 
under Article V, §§ 46 and 59 of the Oklahoma Constitution. On May 30, 2013, 
this Court accepted the certified question and the parties completed briefing on 
August 30, 2013. Upon review, we hold the damage provisions in § 1350 are not 
unconstitutional under Article V, §§ 46 and 59.

CERTIFIED QUESTION ANSWERED.

Mark Hammons, Amber L. Hurst, HAMMONS, GOWENS &amp; ASSOCIATES, Oklahoma 
City, Oklahoma for Plaintiff,Leonard Court, Courtney K. Warmington, CROWE 
&amp; DUNLEVY, Oklahoma City, Oklahoma for Defendants.


REIF, V.C.J.:
¶1 This Court is asked to decide whether the damage provisions in section 
1350 of the Oklahoma Anti-Discrimination Act (OADA), 25 O.S.2011, §§ 1101 through 1706, 
violate the special law prohibitions in Article 5, §§ 46 and 59 of the Oklahoma 
Constitution. This issue arose in a case filed in the United States District 
Court for the Western District of Oklahoma. The plaintiff alleged her former 
employer terminated her employment in violation of both federal law and the 
OADA. Unlike the "all detriment" common law damage remedy for wrongful 
termination, section 1350 of the OADA limits damages to back pay and liquidated 
damages. Plaintiff has contended that section 1350 is a special law because it 
provides different relief to victims of discrimination-based termination than 
the relief provided for victims of other terminations in violation of Oklahoma 
public policy. In essence, Plaintiff believes this difference in relief for 
"wrongful terminations" is the type of inequality in the treatment of tort 
victims that the Oklahoma Constitution forbids in Article 5, §§ 46 and 59. 
Citing the absence of Oklahoma precedent on this issue as well as the need to 
determine plaintiff's remedies for her state law claim, the federal court 
certified this constitutional question to this Court.
¶2 The federal court's certification order sets forth the factual background 
for this controversy. The certification order relates (1) plaintiff was an 
employee of the defendants from August 1998 through May 4, 2012; (2) plaintiff 
was 56 years old at the time of her termination; (3) plaintiff was one of the 
oldest employees in her department at the time of her termination; (4) 
plaintiff's supervisor made ageist and gender-based comments; (5) after 
plaintiff's supervisor was elevated to Director of Radiology, he began to 
terminate older employees and replace them with younger employees; (6) plaintiff 
was replaced by a younger female who was approximately in her twenties; (7) 
plaintiff was told she was terminated for bullying a coworker; and (8) plaintiff 
filed her federal court complaint on August 20, 2012, alleging violations of 
Title VII of the Civil Rights Act, 42 U.S.C. § 2000e-5(f)(3), the Age 
Discrimination in Employment Act, 29 U.S.C. § 626(c), and the Oklahoma 
Anti-Discrimination Act, 25 O.S.2011, 
§§ 1101 through 1706.
¶3 In addition to this background, the parties' federal court pleadings 
further frame the controversy over the relief plaintiff may recover in the event 
she succeeds on her state court claim. Plaintiff's complaint and amended 
complaint both allege plaintiff was the victim of age and gender discrimination. 
They also assert that "the OADA damage caps are unconstitutional under 
Oklahoma's prohibitions against special laws, and that Plaintiff is entitled to 
the full range of normal tort damages." These pleadings further claim that 
"Plaintiff is entitled to an award of punitive damages under both federal and 
Oklahoma law." In their answers to these complaints, defendants maintain: "Any 
damages available to plaintiff under state law for age and/or gender 
discrimination are limited to those enumerated in 25 O.S. § 1350."
¶4 Section 13501 became effective November 1, 2011, and was in effect 
on May 4, 2012, the date of plaintiff's termination. This statute expressly 
creates a cause of action for employment-based discrimination and abolishes 
common law remedies for such wrong. In the place of common law remedies for 
employment-based discrimination, section 1350 authorizes a court (1) to enjoin 
unlawful discrimination employment practices, (2) to grant affirmative relief 
such as reinstatement, (3) to award back pay, and (4) to award an additional 
amount for liquidated damages. While this relief is certainly more limited than 
the "all detriment" common law remedy provided for most non-discrimination based 
wrongful termination claims, that difference alone does not make section 1350 a 
special or non-uniform law forbidden by Article 5, §§ 462 and 593 of the Oklahoma Constitution. 
The test is "whether the statute operates on an entire class of actionable 
claims that are similarly situated." Reynolds v. Porter, 1988 OK 88, ¶ 18, 760 P.2d 816, 823.
¶5 To demonstrate that section 1350 fails the Reynolds test, plaintiff 
argues that all victims of wrongful termination are a similarly situated class 
of tort victims in the same way all victims of negligence were recognized to be 
in Wall v. Marouk, 2013 OK 
36, 302 P.3d 775, and 
Zeier v. Zimmer, Inc., 2006 
OK 98, 152 P.3d 861. 
Plaintiff points out that discrimination based terminations have always been 
actionable in tort as an exception to the employment at will doctrine and as a 
wrongful discharge in violation of public policy.
¶6 Despite the strong logical appeal of this analogy, it fails to consider 
the reasons this Court recognized tort liability for wrongful termination of an 
at will employee in the first place; that is, the need to protect an important 
public policy, to deter employers from discharging employees to the detriment of 
public policy and to compensate wrongfully terminated employees who were either 
protected by the public policy or who had acted consistently with the public 
policy. See Burk v. K-Mart Corp., 1989 OK 22, ¶ 14, 770 P.2d 24, 28 (citing Vigil v. 
Arzola, 699 P.2d 613 (N.M. Ct. App.1983), rev'd in part on other grounds, 
687 P.2d 1038 (1984) (the focus of an action for wrongful discharge by an 
employer of an at will employee is upon the employer's duty to act in accordance 
with public policy)). Tort liability for discharging at will employees in 
violation of public policy was "judicially created," because there was no other 
remedy to protect the public policy and it was preferable to extending the 
implied duty to deal fairly and in good faith to the discharge of at will 
employees. However, it is axiomatic that the Legislature can declare and change 
public policy in the area of at will employment and is empowered to provide the 
measures it deems necessary to protect that public policy. See 
Shephard v. CompSource Oklahoma, 2009 OK 25, ¶¶ 4-7, 209 P.3d 288, 290-92.
¶7 We have said that this State's public policy to protect Oklahoma citizens 
from discrimination based on a protected status is set forth in the OADA. 
Smith v. Pioneer Masonry, Inc., 2009 OK 82, ¶ 12, 226 P.3d 687, 689. We have also 
firmly established that victims of discrimination based on any protected status 
comprise a single, unified class to determine whether a remedy is uniformly 
applied to the class. Id. at ¶ 10, 226 P.3d at 689; 
Shephard, 2009 OK 25 at ¶ 
10, 209 P.3d at 292; Shirazi v. Childtime Learning Center, Inc., 2009 OK 13, ¶ 11, 204 P.3d 75, 79; Kruchowski v. 
Weyerhaeuser Co., 2008 OK 
105, ¶ 9, 202 P.3d 144, 148; 
Saint v. Data Exchange Inc., 2006 OK 59, ¶ 6, 145 P.3d 1037, 1038; Collier v. 
Insignia Financial Group, 1999 OK 
49, ¶ 14, 981 P.2d 321, 
326-27. To satisfy uniformity, it is not necessary that the remedy to protect 
against status based discrimination be the same as the remedy provided in cases 
where an employee's conduct, like whistleblowing, is alleged to have triggered a 
discharge. The core reason that the remedies for these two types of wrongful 
termination need not be commensurate is that the remedies protect different 
public policies.
¶8 As for the case at hand, the Legislature has determined that Oklahoma's 
public policy reflected in the OADA is better protected by the statutory cause 
of action and relief set forth in section 1350, rather than tort liability that 
this Court had recognized in the absence of Legislative action. In 
Shirazi, ¶ 9, 204 P.3d at 78, we reaffirmed the rule in Kruchowski, ¶ 32, 202 
P.3d at 153, that one of the thresh hold showings that a plaintiff must make in 
order to maintain a Burk claim in tort is that "a breach of Oklahoma's public 
policy occurred for which there is no statutorily-crafted remedy." In 
Shephard, we squarely held: "Where a statutory remedy exists that is 
sufficient to protect the Oklahoma public policy goal, an employee has an 
adequate remedy that precludes resort to a tort cause of action to redress 
termination in violation of public policy." Shephard, 2009 OK 25 at ¶ 12, 209 P.3d at 
293.
¶9 In Shephard, we concluded that the Legislature had properly limited 
state employee whistleblowers to statutory remedies in protecting the State's 
public policy to encourage disclosure of wrongdoing in State government. We did 
so despite the fact that whistleblowers in private employment were protected by 
tort liability. Again, such dichotomy is permissible due to the difference in 
the public policies being protected. In the case of state employee 
whistleblowers the policy served is very specific to preventing corruption in, 
and preserving the integrity of, state government, while in the case of 
whistleblowers in private employment the policy served is the more general 
policy of protecting the public health and safety. See Hayes v 
.Eateries, Inc., 1995 OK 108, 
¶¶ 19-30, 905 P.2d 778, 785-88. 
Tort liability to protect whistleblowers likewise was originally recognized only 
because the Legislature had not otherwise provided a remedy to protect 
employees, both public and private, who acted to further the respective public 
policies served by whistleblowing.
¶10 In wrongful termination cases, more properly discharge in violation of 
public policy, class membership for purposes of a special law/uniformity 
analysis is not determined by labeling the claim a "tort claim" and treating all 
persons with such a "tort claim" as similarly situated. Class membership is 
determined by the public policy that is offended by the discharge of an employee 
who is either protected by the public policy or has acted in way that is 
consistent with the public policy. Employees who are similarly situated in these 
regards must be afforded a uniform remedy to redress an employer's discharge in 
violation of the public policy. Shirazi, 2009 OK 13, ¶ 12, 204 P.3d at 
79.
¶11 The Legislature has declared that the OADA "provides the exclusive 
remedies within this state . . . for individuals alleging discrimination in 
employment on the basis of race, color, national origin, sex, religion, creed, 
age, disability or genetic information." 25 O.S.2011, § 1101(A) (emphasis 
added).4 To 
leave no doubt about the intended effect of this declaration of purpose, the 
Legislature further expressly provided that "any common law remedies are hereby 
abolished." 25 O.S.2001, § 
1350(A). Among the exclusive remedies provided in the OADA is a "cause of 
action for employment based discrimination." Id. Any victim of 
discrimination based on race, color, religion, sex, national origin, age, 
disability, or genetic information can pursue such cause of action upon 
exhausting the administrative remedies provided in the OADA. Title 25 O.S.2011 § 1350(B) (C) and (D)5. The relief 
provided in subsection (G) of § 1350 - enjoining unlawful, discriminatory 
employment practices, and affirmative relief such as reinstatement, back pay, 
and liquidated damages - is available to all victims of status-based 
discrimination, depending upon the circumstances of an individual case. Clearly, 
the OADA in general and section 1350 in particular "operate on the entire class 
of actionable claims that are similarly situated."
Accordingly, our answer to the certified question is that the damage 
provisions of section 1350 do not violate the special law prohibitions of 
Article 5, §§ 46 and 59 of the Oklahoma Constitution.

CERTIFIED QUESTION ANSWERED.

¶12 COLBERT, C.J. (by separate writing), REIF, V.C.J., KAUGER, WATT, 
WINCHESTER, EDMONDSON, TAYLOR, COMBS, and GURICH, JJ., concur.

FOOTNOTES

1 Title 
25 O.S.2011 § 1350, in effect at 
the time of plaintiff's termination, provides:
A. A cause of action for employment-based discrimination is hereby created 
and any common law remedies are hereby abolished.
B. In order to have standing in a court of law to allege discrimination 
arising from an employment-related matter, in a cause of action against an 
employer for discrimination based on race, color, religion, sex, national 
origin, age, disability, genetic information with respect to the employee, or 
retaliation, an aggrieved party must, within one hundred eighty (180) days from 
the last date of alleged discrimination, file a charge of discrimination in 
employment with the Attorney General's Office of Civil Rights Enforcement or the 
Equal Employment Opportunity Commission alleging the basis of discrimination 
believed to have been perpetrated on the aggrieved party. Upon completion of any 
investigation, the Attorney General's Office of Civil Rights Enforcement may 
transmit the results of any administrative hearing and determination to the 
Equal Employment Opportunity Commission or issue the complaining party a Notice 
of a Right to Sue.
C. Should a charge of discrimination be filed with the Attorney General's 
Office of Civil Rights Enforcement and not be resolved to the satisfaction of 
the charging party within one hundred eighty (180) days from the date of filing 
of such charge, the Attorney General's Office of Civil Rights Enforcement, upon 
request of any party shall issue a Notice of a Right to Sue, which must be first 
obtained in order to commence a civil action under this section.
D. All civil actions brought pursuant to a Notice of a Right to Sue from the 
Attorney General's Office of Civil Rights Enforcement for redress against any 
person who is alleged to have discriminated against the charging party and 
against any person named as respondent in the charge shall be commenced in the 
district court of this state for the county in which the unlawful employment 
practice is alleged to have been committed.
. . . .
G. If it is determined in such action that the defendant or defendants in 
such action have discriminated against the charging party as charged in the 
petition, the court may enjoin the defendant or defendants from engaging in such 
unlawful employment practice charged in the petition, the court may enjoin 
respondent from engaging in such unlawful practice and order such affirmative 
action as reinstatement or hiring of employees. A prevailing aggrieved party 
shall also be entitled to backpay and an additional amount as liquidated 
damages. Interim earnings or amounts earnable with reasonable diligence by the 
person discriminated against shall operate to reduce the backpay otherwise 
allowable. If an individual was refused employment or advancement, was suspended 
and/or was discharged for legitimate reasons other than discrimination as 
provided by this act, then no order of the court shall require the hiring, 
reinstatement or promotion of that individual as an employee, nor shall it order 
payment of any backpay.
H. In any action or proceeding under this section, the court may allow a 
prevailing plaintiff or defendant a reasonable attorney fee.

2 
Oklahoma Constitution Article 5 § 46, provides in pertinent part:
The Legislature shall not, except as otherwise provided in this Constitution, 
pass any local or special law authorizing:
. . . .
Regulating the practice or jurisdiction of, or changing the rules of evidence 
in judicial proceedings or inquiry before the courts, justices of the peace, 
sheriffs, commissioners, arbitrators, or other tribunals, or providing or 
changing the methods for the collection of debts, or the enforcement of 
judgments or prescribing the effect of judicial sales of real estate;
. . . .
For limitation of civil or criminal actions; . . . .

3 
Oklahoma Constitution Article 5 § 59, provides:
Laws of a general nature shall have a uniform operation throughout the State, 
and where a general law can be made applicable, no special law shall be 
enacted.

4 Title 
25 O.S.2011 § 1101, provides:
A. This act provides for exclusive remedies within the state of the policies 
for individuals alleging discrimination in employment on the basis of race, 
color, national origin, sex, religion, creed, age, disability or genetic 
information.
B. This act shall be construed according to the fair import of its terms to 
further the general purposes stated in this section and the special purposes of 
the particular provision involved.

5 25 O.S.2011 § 1350, see note 6, 
supra.


COLBERT, C.J., concurring, joined by Watt &amp; Combs, JJ.
¶1 I concur in today's determination that section 1350 is not an 
unconstitutional special law. I write separately to address the meaning of an 
undefined term that appears in the section 1350 remedies provision of the 
Oklahoma Anti-Discrimination Act and to note that today's decision does not hold 
or imply that the Act is free from constitutional infirmity under other 
provisions of the Oklahoma and United States Constitutions when applied to 
claims of employment discrimination.
¶2 In a civil action in which employment discrimination has been determined, 
section 1350(G) provides for (1) reinstatement or hiring, (2) injunctive relief, 
(3) backpay less interim earnings, and (4) "an additional amount as liquidated 
damages."1 The 
term "liquidated damages" is not defined. However, the provisions of section 
1350 appear to mirror to some extent the remedies provided for employment 
discrimination under federal law.
¶3 The remedies provisions of certain federal acts concerning employment 
provide liquidated damages as a punitive measure to deter violations. See, 
e.g.,Age Discrimination in Employment Act, 29 U.S.C. § 626(b); 
Equal Pay Act, 29 U.S.C. § 206(d); Fair Labor Standards Act, 29 
U.S.C. § 216(b); Family Medical Leave Act, 29 U.S.C. § 
2617(a)(1)(A)(iii). For example, under the Age Discrimination in Employment Act, 
the term "liquidated damages"denotes double the amount of backpay. See 
Trans World Airlines, Inc. v. Thurston, 469 U.S. 111 (1985).2 Thus, a 
reasonable construction of section 1350(G) would require an award of double the 
award of backpay as liquidated damages.

FOOTNOTES

1 In 
addition, section 1350(H) provides for prevailing party attorney fees.

2 Unlike 
the federal Age Discrimination in Employment Act, the Oklahoma 
Anti-Discrimination Act does not contain a "willful violation" requirement for 
an award of liquidated damages.





	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	None Found.Citationizer: Table of AuthorityCite
		Name
		Level
	Oklahoma Supreme Court Cases&nbsp;CiteNameLevel&nbsp;1988 OK 88, 760 P.2d 816, 59 OBJ        1987, Reynolds v. PorterDiscussed&nbsp;1989 OK 22, 770 P.2d 24, 60 OBJ        305, Burk v. K-Mart Corp.Discussed&nbsp;1995 OK 108, 905 P.2d 778, 66 OBJ        3281, Hayes v. Eateries, Inc.Discussed&nbsp;2006 OK 59, 145 P.3d 1037, SAINT v. DATA EXCHANGE, INC.Discussed&nbsp;2006 OK 98, 152 P.3d 861, ZEIER v. ZIMMER, INC.Discussed&nbsp;2008 OK 105, 202 P.3d 144, KRUCHOWSKI v. THE WEYERHAEUSER CO.Discussed&nbsp;2009 OK 13, 204 P.3d 75, SHIRAZI v. CHILDTIME LEARNING CENTER, INC.Discussed at Length&nbsp;2009 OK 25, 209 P.3d 288, SHEPHARD v. COMPSOURCE OKLAHOMADiscussed at Length&nbsp;2009 OK 82, 226 P.3d 687, SMITH v. PIONEER MASONRY, INCDiscussed&nbsp;2013 OK 36, 302 P.3d 775, WALL v. MAROUKDiscussed&nbsp;1999 OK 49, 981 P.2d 321, 70 OBJ        1804, Collier v. Insignia Financial GroupDiscussedTitle 25. Definitions and General Provisions&nbsp;CiteNameLevel&nbsp;25 O.S. 1350, Creation of Cause of Action - Common Law Remedy Abolished - Standing - Requirements for Notice of Right to Sue - Jury Trial - Defenses - RemediesDiscussed at Length&nbsp;25 O.S. 1101, Purposes - ConstructionDiscussed at Length


				
					
					
				
             
         
        
            

		